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                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   MICHAEL GRANT,                                                        CIVIL ACTION

   v.                                                                    NO. 20-735

   CITY OF PHILADELPHIA, et al.

                                                               ORDER

          AND NOW, this 20th day of September 2021, following hearing in open court with

counsel and considering arguments regarding (1) Defendants’ Motion to Dismiss (ECF 23), and

the Response thereto (ECF 30); (2) Plaintiff’s Motion to Compel (ECF 43) and the Response and

Reply thereto (ECF 44 and 45, respectively); the Court hereby ORDERS:

                1. Defendants’ Motion to Dismiss is GRANTED without prejudice as to Count V.

                2. Plaintiff is granted leave to amend his complaint as to Count V and is instructed to

clearly identify each policy and/or custom that he is challenging under a Monell theory of liability

and provide factual allegations in support for each.

                3. Within 14 days, Defendant is to produce to Plaintiff all documents responsive to

Counts I through III.



                                                                BY THIS COURT:

                                                                /s/ MICHAEL M. BAYLSON
                                                                ______________________________
                                                                MICHAEL M. BAYLSON
                                                                United States District Court Judge
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